Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 1 of 6   PageID 1392




           EXHIBIT 4
Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 2 of 6                         PageID 1393




                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

  CONSOLIDATED INDUSTRIES, LLC                           )
  d/b/a WEATHER KING PORTABLE                            )
  BUILDINGS,                                             )
                                                         )
          Plaintiff,                                     )
                                                         ) Civil Action No. l:22-cv-01230
  v.                                                     )
                                                         )
  JESSE A. MAUPIN, BARRY D.                              )
  HARRELL, ADRIAN S. HARROD,                             )
  LOGAN C. FEAGIN, STEPHANIE L.                          )
  GILLESPIE, RYAN E. BROWN,                              )
  DANIEL J. HERSHBERGER, BRIAN                           )
  L. LASSEN, ALEYNA LASSEN, and                          )
  AMERICAN BARN CO., LLC,                                )
                                                         )
          Defendants.                                    )



                JESSE A. MAUPIN’S RESPONSES TO PLAINTIFF’S
       FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                 DOCUMENTS, AND REQUESTS FOR ADMISSION

         Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Jesse A. Maupin by and through his

 attorneys, states the following responses.

                                      INTERROGATORIES

         I.      Identify each business enterprise that has been engaged in the Portable Buildings

 Industry with which you played any role in planning its creation or formation and, with respect to

 each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

 dates in which you were involved in the planning; and (c) all other individuals and entities who

 were involved in planning the creation/formation.

         RESPONSE:



 68558731;!
Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 3 of 6                     PageID 1394




         RESPONSE:

        None.

         6.      All correspondence and other documents exchanged with any former Weather King

 employees between January 1, 2022, and July 1,2022.

         RESPONSE:

        None.

         7.      All correspondence and other documents exchanged with any then-current Weather

 King employees after January 1, 2022.

         RESPONSE:

         None.

         8.      All correspondence and other documents exchanged with any then-current Weather

 King dealers (including but not limited to employees and agents of those dealers) between January

 1,2022, and July 1,2022.

         RESPONSE:

         None.

         9.      All correspondence and other documents exchanged with any then-current Weather

 King builders (including but not limited to employees and agents of those builders) between

 January 1, 2022, and July 1, 2022.

         RESPONSE:

         None.

         10.     All correspondence and other documents exchanged with any then-current Weather

 King customers (including but not limited to employees and agents of those customers) between

 January 1,2022, and July 1,2022.

                                               - 10-

 68558731;!
Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 4 of 6                      PageID 1395




        RESPONSE:

        None.

         11.     All correspondence and other documents exchanged with any then-current Weathei

 King drivers (including but not limited to employees and agents of those drivers) between January

 1,2022, and July 1,2022.

         RESPONSE:

        None.

         12.     All correspondence and other documents exchanged with any Portable Buildings

 Industry rental companies and/or rental companies being formed (including but not limited to

 employees and agents of those entities) between January 1,2022, and July 1,2022.

         RESPONSE:

        None.

         13.     All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

 LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

         RESPONSE:

         None.

         14.     All non-privileged correspondence and other documents related to:

         (a) any of the Defendants’ departure from Weather King;

         (b) any of the Defendants’ communications with any Weather King employees about the

         possibility of leaving Weather King or joining ABCO;

         (c) any of the Defendants’ communications with any Weather King builders, dealers,

         drivers, rental companies, or contractors, about the possibility of doing business with

         ABCO or ceasing doing business with Weather King;

                                               - 11 -

 68558731;!
Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 5 of 6                       PageID 1396




         (d) any claims or potential claims made by Weather King against any of the Defendants;

         (e) any of the Defendants’ possession of or use of any Weather King property; or

         (f) derogatory remarks made by any of the Defendants relating to Weather King;

         RESPONSE:

         None.

          15.     All correspondence and other documents exchanged with any person or entity

 related to the leasing or potential leasing of any property located in Arizona or New Mexico.

         RESPONSE:

         None.

          16.     All emails and attachments sent from your Weather King company email address

 to any personal email address since January 1, 2021.

         RESPONSE:

         None.

          17.     All correspondence and other documents referencing or relating to any Weather

 King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

 by Kevin Nolan, P.E.

          RESPONSE:

          None.

          18.     All documents relating to any sales of units using any Weather King drawings,

 blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

          RESPONSE:

          None.



                                                - 12-

  68558731;!
Case 1:22-cv-01230-STA-jay Document 73-5 Filed 05/19/23 Page 6 of 6   PageID 1397
